Case 2:21-cv-19829-MCA-JRA Document 89 Filed 06/30/22 Page 1 of 1 PageID: 798
                                                             Cynthia S. Betz            McCarter & English, LLP
                                                             Associate                  Four Gateway Center
                                                             T. 973-848-5377            100 Mulberry Street
                                                             F. 973-297-6636            Newark, NJ 07102-4056
                                                             cbetz@mccarter.com         www.mccarter.com




June 30, 2022

VIA ECF

Hon. José R. Almonte, U.S.M.J.
U.S. District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

       Re:      Pacira Pharmaceuticals, Inc. v. eVenus Pharmaceuticals Labs, Inc.,
                Civil Action No. 2:21-cv-19829-MCA-JRA (consolidated with 2:22-cv-718)
Dear Judge Almonte:

       We, along with Perkins Coie LLP and O’Toole Scrivo, LLC, represent Plaintiffs in
this matter. On behalf of all parties, we submit this letter in advance of the status
teleconference scheduled for July 8, 2022, at 11:00 a.m. (ECF No. 72).

        This case is in fact discovery. Pursuant to the Court’s May 9, 2022 Scheduling Order
(ECF No. 86), Plaintiffs identified asserted claims on April 15, 2022, and Defendants served
Invalidity Contentions on May 10, 2022. Both sides have served and responded to written
discovery. Plaintiffs are scheduled to serve Infringement Contentions and Responses to
Invalidity Contentions on August 2, 2022. Substantial completion of document discovery is
not until February 24, 2023, and fact discovery does not close until March 17, 2023. The
ordered schedule calls for another status conference on August 8, 2022.

       There are no disputes ripe for the Court’s consideration at this time.

        The parties look forward to discussing the above and any issues that Your Honor
wishes to address during the telephone status conference. Alternatively, given the above
status report, the parties would be amenable to canceling the July 8 conference and providing
a further status update in advance of the August 8 conference.

       We appreciate Your Honor’s attention to this matter.
Respectfully submitted,

/s/ Cynthia S. Betz

Cynthia S. Betz
CC: All counsel of record (via ECF)
